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SENATE JOURNAL

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EXHIBIT “C”

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Upon motion by Senator Coney, seconded by Senator Kamauoha,
the report was adopted.

The bill, as amended, thereupon passed its Final Reading on the
following showing of ayes and noes:

Ayes: Senators Baldwin, Coney, Cooke, Correa, Desha, Hind,
Kamauoha, King, C. A. Rice, H. W. Rice, Russell, Shingle, Wise, and
Myr, President. ‘Total, 14.

Noes: Senator Pacheco.

Senator Coney, for the Committee on Military, presented a report
(Stand. Com. Rep. No, 388) recommending the passage of House Bill
No. 304, entitled: “An Act to amend Chapter 125 of the Revised
Laws of Hawaii, 1915, as amended by Act 122 of the Session Laws of
1915, relating to firearms and ammunition, by adding thereto two new
sections to be known as Sections 2202B and 2202C”. The report was
read by the Clerk, as follows:

Honolulu, T. H., April 22, 1919.

Honorable Charles F. Chillingworth,
President of the Senate.

Sir:—Your Committee on Military, to which was referred House
Bili No, 304, entitled “An Act to amend Chapter 125 of the Revised
Laws of Hawaii, 1915, as amended by Act 122 of the Session Laws of
19165, relating to firearms and ammunition, by adding thereto two new
sections to be known as sections 2202B and 2202C", begs leave to
report as follows:

The purpose of this amendment is to have the sheriff or deputy

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sheriff of the county or City and County issue a permit to any one -

desiring to purchase firearms or ammunition, said permit to be pre-
sented to the vendor of said article and to be endorsed on the back
thereof by said vendor describing the article so purchased, said per-
mit to be immediately transmitted to the officer issuing the same.

As this will enuble the police authorities to have a better supervision
and check over the sale of fircarms, your Committee would recommend
the passage of this bill.

Respectfully submitted,

J. H. CONBY, Chairman;
S. L, DESHA,
M. C. PACHECO.

Upon motion by Senator Coney, seconded by Senator Desha, the
report was adopted, The bill thereupon passed Second Reading.

Senator Coney, for the Committee on Military, presented a report
(Stand. Com. Rep. No. 389) recommending the passage of House Bill
No. 308, entitled: “An Act to amend Sections 2206 and 2211 of the
Revised Laws of Hawali, as amended, relating to weights and meas-
ures”. The report was read by the Clerk, as follows:

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